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United States Courts

ict of Texas
UNITED STATES DISTRICT COURT Souther TED

SOUTHERN DISTRICT OF TEXAS '
HOUSTON DIVISION AUG 01 2019

dley, Clerk of Court
RAYMOND L.CAVITT, JIMMY BLACK David J. Bracley

JUSTIN D. BUXTON, HARRY F.KERLEY,
KENNETH TAYLOR,

Plaintiffs,
vs.
LORI DAVIS, (Director),CYNTHIA
TILLEY (Unit Warden), TEXAS
DEPARTMENT OF CRIMINAL JUSTICE,

Defendants.

PLAINTIFF'S ORIGINAL 1983 PETITION
PRELIMINARY INJUNCTION INCORPORATED ve

TO THE HONORABLE JUDGE OF SAID COURT:

Now comes Raymond L.Cavitt,Jimmy Black, Justin D-.Buxton, Harry
Kerley, and Kenneth Taylor (PLAINTIFFS) to file this Petition
PRO SE in the above styled civil action, moves this HONORABLE
Court to GRANT this PRELIMINARY INJUNCTION.

Plaintiffs intend to show, that TIME IS OF THE ESSENCE because
Plaintiffs are. being exposed to LONG-TERM, SYSTEMIC, REPEATED,

and CONTINUAL conditions of confinement,that pose risk that

are inconstantiwith- their physical: afflictions and capabilities.
In addition, these Defendants are demonstrably unlikely to
implement the required changes without this Court's SPURII!!
Plaintiffs also plea, that this pre se petition be reviewed by

a standard LESS STRINGENT than those applied to a formal pleading

drafted by a Lawyer.

In support of the above,Plaintiffs will show the following.
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JURISDICTION AND -VENUE
Jurisdiction is conferred upon this Court prusuant to:
28 U.S.C.§ 1331,§ 1343,§ 2201, 42 U.S.Cc.§ 1983, DECLARATORY
JUDGMENT ACT.
This District Court is the approprate VENUE because a, substantial

part of the events or omissions giving rise to this Court

occured in this Judicial District.

PARTIES TO THIS CAUSE OF ACTION

RAYMOND L.CAVITT T.D.C.J. # 1897462 (Lead Plaintiff).

Is an Offender assigned to the Jester-3 unit operated) by the

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Texas Department of Criminal Justice (T-.D.C.J.)

JIMMY BLACK T.D-.C.J3. # 1617017 (Plaintiff).

Is an Offender assigned to the Jester-3 unit operated: by T.D.C.J..

JUSTIN D.~BUXTON T.D.C.J. # 2027038 (Plaintiff). |

Is an Offender assigned to the Jester-3 unit operatee, by T.D.C.J..

. |

HARRY KERLEY T.D.C.J. # 895775 (Plaintiff).

Is an Offender assigned to the Jester-3 unit operated by T.-D.C.J..
|

KENNETH TAYLOR T.D.C.d. # 828757 (Plaintiff).

Is an Offender assigned to the Jester-3 unit operated] by T.D.C.J...

At all times relevant,these Plaintiffs were in the care.and custody

of T.D.C.d. and subject to ail rules, policies, procedures and
guidelines. Plaintiffs and other similary situated Jester-3
Offenders,are qualified individuals regarded as having a mental
or physiological impairment, that substantially limits one or

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more of their major life activities.
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LORIE DAVIS: (Defendant).

Is the Executive Director of T.D-.C.J..

As such,Ms.Davis is the Commanding Officer of all T.D.C.. Guards,
Correctional Officers and T-D.C.J. Employees and Contractors.

She is responsible for their training, supervision and conduct.

She also reviews and approvés all T.D-.C.Jd. policies, procedures,

rules and guidelines.

As a matter of law,she is responsible for protecting the constitutional
rights of all persons held in T.D.C.J. custody. |

At all times described herein, Ms.Davis was acting under the color

of Texas State Law.
Ms.-Davis is being sued in her OFFICIAL CAPACITY.
CYNTHIA TILLEY: (Defendant).

Is the head Warden of the Jester-3 Unit.
Ms.Tilley is responsible for ensuring that Consitiutuional

conditions of confinement exist at the Jester-3 unit. .

Any unsafe: or dangerous condition that she lacks the authorty

or resource to correct,must be reported to a higher authorty within
T.D.C.J. She is being sued in her OFFICIAL and INDIVIDUAL CAPACITY.
THE TEXAS DEPARTMENT OF CRIMINAL JUSTICE: (Defendant). |

Is a State Agency and at all times operated the Jester-3 Unit.
Jester-3 is a Public Facility with programs and services that

Plaintiffs and other Offenders are qualified for.’

T.D.C.J. is a recipient of Federal Funds.
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DAMAGES OR OTHER CLAIMS OF RELIEF

For legal elements of damages accuring to Plaintiffs, Plaintiffs
seeks one or all of the following:
PROSPECTIVE, INJUCTIVE, EQUITABLE relief.

Plaintiff also seeks DECLARATION of RIGHTS.

 

Plaintiff does not seek,but will accept,any CORRECTIVE or PUNITIVE

damages assessed by.this Court.

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|
EXHAUSTION OF ADMINISTRATIVE REMEDIES

Even though the Grievance System available to Plaintiffs is

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UNFAIR, BIAS, INADEQUATE, FUTILE and a complete “"FAUCES",

Plaintiff complied with Federal law and submitted a thorough

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and detailed account of the issues raised in this cause of action.
To date,Plaintiffs have not received an Official responce to
these complaints. :
However, as a matter of clearly established Federal law,
when Plaintiffs seek a PRELIMINARY INJUNCTION due to an

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emergency of dangerous: prison condition,that.may.cause
|
|

IRREPARABLE HARM, this Court can wait for Plaintiffs to

Exhaust the grievance process and still protect Plaintiffs
with a Preliminary Injunction.SEE JACKSON vs. DISTRICT OF
COLUMBIA, 254 F.3d,(D.C. Cir. 2001).

Plaintiff assures the Court that they will complete the Grievance

Process during this litigation.

4.

 
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DECLARATION OF FACTS

I Raymond L.Cavitt T-D.C.J. #1897462,being presently confined
at the Jester-3 unit,Richmond,Texas,in a prison facility operated

by the Texas Department of Criminal Justice,under the penalty of
|
{

perjury do state,that I am over 21 years of age and of sound mind.
|

All of the above and forgoing are TRUE and CORRECT to, the best

of my knowledge and belief. '
|
EXCUTED ON THIS 80th. DAY OF JULY 2019 |

CAVITT #1897462

 

PLAINTIFF'S PREVIOUS FILLINGS

 

Raymond L.Cavitt, has a current state civil suit against T.D.C.J.
|

in regards to lost or. damaged property,this suit is still pending.
|

Mr.Cavitt can not remember if he had any filings in the 70s or 80s

while in T.D.C.J.. !

Harry Kerley,currently has a state civil action against T.D.C.J

for=missing. personal property.

He does not know the status of this case.

Justin Buxton has no previous filings.

Jimmy Black, has no previous filings.

 

Kenneth Tayolr is a prolific filer of civil suits against T-.D-C.J.

Officials 3;17-cv-0358 Heat Litigation he failed to get relief,

3;18-cv-0394 Denial of medical treatment(Still Pending),
|

He stated that: he has at least 3 more but due to his strokes

he. can't remember any details.

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OPENING STATEMENT

Plaintiffs conceed. that prison life is not meant to b
"A STAY IN A HOLIDAY INN". and under both the United S
Texas Constitutions, conditions may be "RESTRICTIVE" an
“Harsh’.
This is the penalty that the Plaintiffs must pay for O
the laws of the GREAT STATE OF TEXAS.
However, under both constitutions, they’ CLEARLY PROHIBI
prison conditions that may deprive Offenders of "BASIC
SEE 8th-AMENDMENT of the U.S. CONSTITUTION, VERNON'S C
of the STATE of TEXAS at 1§13 (30).
It is well established, that one of these basic human
"MEDICAL CARE" SEE ESTELLE vs. GAMBLE 429 U.S. 97.104
was a "LANDMARK" ruling involving T.D.C.J], VERNON'S T
GOVERNMENT CODE 501.146.
As a matter of-law., Prison Officials must provide care
medically approriate and adequate for and Offender's D
SERIOUS MEDICAL CONDITIONS.
Plaintiff now contends, that medical care in prison mu
of much more than diagnoses,medication, physical therap
other form of professional treatment administered by P
‘Health Care Providers.
“In addition, Medical Providers and Prison Officials are
obligated to insure, that Offenders with diagnosed ser
conditions, be provided with an. "ENVIRONMENT" that is
to the healing process,

or at the least,attempt to al

prison conditions that could “significantly aggravate

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Prison Officials must exclude Offenders from work,housi

other prison condition which could result in injury or

unnecessary and wanton infliction of pain or suffering

an Offenders diagnosed serious medical conditions.

SEE JACKSON ws. CAIN 864,£2d.,1235, RAY vs. MABRY 544,

McCORD vs. MAGGIO 927, £2d. 847-849. SEE T.D.C.J. HEALT

POLICY MANUAL A-08.4,D-27.2,E-34.1
T.D.C.J. CLASSIFICATION PLAN MANUAL Page 13 (1) Intake,
FARMER vs. BRENNAN 511,U.S. 114,S.CT.,1970,1988,128 L-E

827 (1994), GATES vs-COOK £3d,339,340, HERMAN ws.HOLIDA

rrr

660 at. (1),(5).(8) BMPHASIS ADDED !!1!

 

HOWEVER!!! There are instances where Prison Official su
the corrupting influnce of "UNCHECKED AUTHORITY" and fe
their conduct is above the law.

This is when it is up to the Courts to bring their acti
into compliance with State and or Federal Law. SEE RUIZ
161, £3d.,814.[This is also a™LANDMARK"case involving T
It -is well established, that this Court can scrutinize

condition that may present a serious or immediate threa

Offender's health or safety. SEE CAMPBELL vs- BETO, 460

768 (5th.Cir-TEXAS 1972).[This is a, case involving T-.D.

Plaintiffs briny this suit as yet another chapter ina
of challenges to conditions of confinement within the T
Department of Criminal Justice.

Plaintiffs will show the following:

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PLAINTIFF'S STATEMENT OF FACTS

Plaintiffs are Offenders located at the Jester-3 Unit w

prison unit operated by the Texas Department of Crimina

(T.D.C.d.).

‘Plaintiffs allege violations of the Eight (8) Amendment

Constitution, the Americans with Disabilities Act, and

Rehabilitation Act due to the high temperatures in thei

areas.
Plaintiffs seek INJUNCTIVE and DECLARATORY relief ONLY.
If approved by the Court,

COUNSEL and CLASS ACTION STATUS.

In 2014 four (4) Offenders at the Wallace Pack Unit ope

T.D.C.d.

Plaintiffs also request APPOI

filed suit seeking relief from the extreme hea

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t conditions

which existed in their housing areas.SEE COLE ws-COLLIER 4:14-cv-1698.

This cause of action is significant and vital to this c

because,the Wallace Pack unit's housing areas in their

omplaint

 

main building

are designed under the same blueprint as the main building at Jester-

3. ‘(The layout of the HOUSING. AREAS.
Plaintiffs also contend,that the same extreme
existed on the Wallace Pack unit in 2014 also
unit and in fact still exist here today (July 2019).
In addition,the same alledged heat mitigation measures

inplace at the Wallace Pack unit during it's litigation

required on the Jester-3 unit.

|
are almost identical)

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heat conditions that

existed on the Jester-3

that were

also is

In addition,the Jester-3 unit houses the same type of old,sick,

handicapped and heat sensitive Offenders that were assi

Wallace Pack unit.

gned to the

 
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Plaintiffs contend, that due to the STRIKING RESEMBLANCE and
Similar circumstances of this cause of action £a.. the Wallace

Pack unit litigation, the value. of the findings in the preliminary
injunction under COLE vs. COLLIER should serve as a "TEMPLATE"

in this litigation.
Even though,the Defendant's in the COLE litigation settled this

case and all Parties agreed,that there were no admissions or evidence
of any violation of any federal or state statue,rule or regulation,
principle of common law or equity or of any liability j)of wrongdoing
whatsoever;does not prevent Plaintiffs from citing the rulifigs made
in COLE vs. COLLIER as authority.
As a matter of law,settling a claim while the interlocutory appeal
challenging the preliminary injunction is still pending, eliminates

any risk of appellate ruling that might curtail or contradict

 

aspects of the Court's decision or analysis.SEE BALL vs- LeBLANC

881 F.ed,346 (5th-.Cir. 2018).

There is no dispute, that the Court in the Cole litigation, made

thorough investigation of the facts and circumstances | surrounding
the allegations asserted in that cause of action.
The Court engaged in extensive discovery and considered the laws
applicable to this Claim and entered a preliminary injunction on
the merits of that claim finding,that the Plaintiffs were

"SUBSTANTIALLY" likely to prevail at trial.

 

In addition, the Honorable Scott Brister of the Texas Supreme

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Court (Retired) participated in mediation sessions and discussed
and explored at length,the legal and factual issues in the Cole
litigation.and found merit in this claim.

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Plaintiffs respectfully ask this Court to review and c
conditions of confinement that existed on the Wallace
at the time of the granting of the preliminary injunct

compare them to the current conditions: that now exist

|
Unit. SEE COLE vs. LIVINGSTON 4;14-cv-1698 ORIGINAL PETI
First, there was little dispute,that the heat in the ho
on the Wallace Pack unit Guring the. summer months could vi
Offenders constitional rights to conditions of confine
are free froma substantial risk of serious harm or inj
‘The parties’ dispute focused on the effectiveness of T
mitigation measures, which included the constant provi

ice water,fans,cool-down showers and access to respite

 

reducing the risk of harm or injury to an acceptable l
Plaintiffs contend.,that there should be no dispute, th

heat conditions do currently exist on the Jester-3 uni

In fact, temperature extremes on the Jester-3 unit are

danyerous and pronounced than found on the Wallace Pack
|

|
to the higher relative humidity.SEE NATIONAL WEATHER H

In regards to the heat mitigation measures that were i

the Wallace Pack unit, the Court found the following:

ICE WATER:

The Court found , that there was no dispute, that T.D.

 

all housing areas with ice water 24 hours a day,7 days

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on the Jester-3
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n place on

C.J. provided

a week and

365 days a year. (These coolers were secure from Offender tampering)

However,the Court found, that due to the helpful but 1

cooling effects of ice water, the level of heat faced

and the pontential hazards incurred by drinking too mu

that ice water alone could not suffice to mitigate the

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by Offenders

ch water,

risk of
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heat related injury.
The availability of ice water on the Jester~3 unit is} sporadic

at best,because the coolers are not property secured thus allowing
Offenders to steal the ice. unabated.
FANS:
The Court found,that each housing area on the Wallace, Pack unit
contained two large fans attached to the ceiling and jtwo large

floor fans.

 

These four (4) fans on each Dorm showed the Court,that T.D.C.J.
did make a genuine effort to ensure,that there were adequate fans
in thezhousing areas.
Dispite these efforts,the Court concluded,that the use of fans
as the primary heat mitigation measure in the housing areas were

INADEQUATE, UNHELPFUL and POTENTIALLY HARMFUL.

Plaintiffs. contend,that Warden Tilley (Defendant)has |not put forth

 

a good-faith or genuine effort to insure that there are adequate

|
fans in the housing areas on the Jester-3 unit. |
There is no dispute,that the housing areas on the Jester-3 unit
have only TWO (2) FANS on each dorm and they are much smaller than
the fans that were on the Wallace Pack unit during it's ltitgation.
Clearly,in regards to fans being an efective heat mitigation, the
fans currently.in. use on the Jester-3 unit: compared to the fans
on the Wallace Pack unit are FEWER IN NUMBER and LESS EFFECTIVE:
COOL-DOWN SHOWERS:
The Court found, that on the Pack unit during once a jday regular
building showers,12 of the 72 shower heads were set on cold water

at all times.

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In addition, twice a day all 72 shower heads were switched to

cold water and all Offenders living on the dorms were jgiven the

 

Opportunity to attend these additional cooler showers.
offenders were also allowed to request a cool-down shower at any
time 24 hours a day.

Even though Offenders were afforded these showers, the Court
found, that cool-down showers do afford some relief from the

heat while in them,but still was not and effective mitigating
measure for preventing Offenders from becoming overheated.
Plaintiffs contend,that even though cool-down showers .are clearly.
required on the Jester-3 unit, however:Warden Tilley has réfused. dr

|
failed to implement then.

 

Plaintiffs "EMPHATICALLY" states: "THAT AS OF JULY 14,2019
€COOCL-DOWN SHOWERS DO NOT EXIST ON THE JESTER-3 UNIT" ELEYey

If this Court were to compare the Wallace Pack unit's \cool-down
procedures to the nonexistent cool-down showers on the Jester-3
unit,there should be no dispute-that this mitigation measure is
less effective and worse than the one in place when the Court
granted the injunction on the Wallace Pack unit.

RESPITE AREAS:

THERE IS NO DISPUTE. THAT BOTH PARTIES IN THE COLE VS .COLLIER

LITIGATION AGREED: THAT RESPITE-THE ABILITY TO SPEND TIME IN AN

AIR CONDITIONED ENVIRONMENT-CAN BE A BENEFICIAL MITIGATION

MEASURE.
The Court found, that the Wallace Pack unit listed numerous
respite areas that were made available to Offenders.

12:

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These respite areas are as follows:
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Education Department,Lower Administration,Officer's Di

e 13 of 55

ning Hall,

Infirmary,Laundry Captain's Office, Food Service Captain's Office.

Lieutenants Office,sRegular Visitation Room,Barber Sho
Many others outside of the main building.

The Wallace Pack unit staff identified 20 different re

PLEASE NOTE: THE JESTER-3 UNIT ONLY HAS TWO RESPITE AR

Barber Shop,Unit Chapel).

Dr and

Spite areas.

EAS (Offender

The Court did find,that the Respite areas on the Wallace Pack unit

were-auseful mitigation measure while «7: Offender are

However, the respite program inherently has many defici

in them.

ancies

and even if it functions as intended ,it would be difficult if not

impossible to maintain without drastically changing th
operation of a T.D.C.J. prison unit.
For example,what. if ail of the Kitchen workers request

at the same time while at: work.

=)

day to day

ed respite

Per respite rules,an Offender can request respite at any time even

if he is required to work and he can stay in respite an long as

he wish.

How could the Kitchen cock and serve meals if all of the workers

are in respite

This would hold true for the Laundry werkers,Janitors and many

other prison workers.

The fact is. that T.D.C.J.

allow a large numder of, Offen@ers access to respite at
time,so they find: ways

to discourage Offenders from seeking respite-

13.

Officials know that they can not

the sane

to make it difficult or unpleasant in order

 
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Plaintiffs contend,that the respite program is broken o
Jester-3 unit.

As stated before, there are only two (2) posted respit
available to Offenders.
BARBER. SHOP :

The Barber Shop on the Jester~3 unit is a very small 4
It is the first place that Security Officers use as a
area.The barber shop contains two barber chairs one sm
and one folding chair.Offenders are not allowed to sit
barber chairs unless they are being served by a barber
can hold approximately four or five people.
When the Barbers are working there are individuals wai
the bench to get a hair cut, meaning fewer people can
for respite.

In fact,when the Barber Shop is full (approximately 10
the cooling effect of the air conditioning is greatly
Once that the Barber Shop is full, Offenders are sent
Chapel.

UNIT CHAPEL:

The unit Chapel is a very large air conditioned buildi
accommidate several hundred Offenders at one time.

Most importantly,in: the event of a power outage,the Ch

has it's own generator.

There are several classrooms in the Chapel and two of
primarily used as respite areas.
These classrooms can accommidate approximately 30 Offe

room.

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However, even on days where the heat index exceeds 107 degrees,

approximately 90 percent of the Offenders on the Jester-3 unit

never frequent the respite areas in the Chapel.

There are several compelling reasons why this is true.

Plaintiffs contend,that there are no posted rules in regards

to respite.
This allows Security Officers assigned to the respite

the Chapel to make thier own rules.

 

area in

PLEASE NOTE:T.D.C-J- has written polices,rules and procedures in

place to govern most interaction with Security Staff and Offenders.

This is done to reduce Officer discretion because discretion can

lead to abuse.

Some Officers told Offenders, that they could only stay in respite

for 30 minuets.

Officers told Offenders, that they were not allowed to talk.

Some Officers did not allow Offenders to bring a book

Materials. or a cup to drink out of.

or writting

Offenders were forced to sit back to back as if they were being

punished.

.Any Offenders who did not comply would be ordered out

of respite.

In addition, the Chapel is located outside of the main building.

Offenders seeking respite can wait up to 45 minuets in a hallway

without any fans in intense heat until an’ Officer comes from the.

Chapel to open the gate.

Also, Offenders seeking respire are at times subject to a more

thorough personal body search than Offenders going to

service or other activities.

 

a religious
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The fact is, both Offenders and Security Officers are

or confused about,the limitations and rules regarding

The truth is, many Offenders are afraid to access res

of running into conflict with Security Officers.

The evidence shows, that the respite program on the J

if POORLY DESIGNED, ADMINISTERED and COMMUNICATED.

Regardless,the Plaintiffs do conceed, that respite is

mitigation measure because it removes them from a hot

a period of time, and provides them an opportunity to

However, it is the times that Plaintiffs are not inr
would be the majority of the hours of the day,that th

to temperatures that could cause them sickness or dea

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respite.

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ester-3 unit
an effective

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cool down.

 

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In a crux,Plaintiffs have clearly shown,that the mitigation measures

on the Wallace Pack unit did. not stop the Courts from

Offenders temporary relief from the heat,and the same

worse conditions currently exist on the Jester-3 unit:

Plus,

to REDUCE THE EXTREME HEAT TEMPERATURE IN THE HOUSING

(This is the main request for relief in this cause of action)

ordering

and in fact

there is no dispute,y:that the Jester-3 unit has done nothing

AREAS.

 

PLEASE NOTE: The 5th.Circuit has repeatedly reconized the serious risk of harm
that excessive heat can pose in the prison context absent adequate mitigating
measures, and have consistently found evidence sufficient to support an 8th.
amendment violation,even when certain mitigating measures were available. SEE
BLACKMON vs.GARZA,484 F-App'x 866. (5th.Cir.2012),WEBB vs.LIVINGSTON, 618 F.App"x

201,204 (5th.Cir.2015),VALIGURA vs.MENDOZA, 265 F.App'x 232,233-
HINOJOSA vs.LIVINGSTON, 807 F.3d. 657,661,669 (5th-Cir. 2015).

What is also compelling, in 2013 during the last sess

Texas Sunset Advisory Commission, recommended, that T.D.C.J.

with National heating and cooling standards,maintain
in all prison units not to exceed 84 DEGREES and inst

and AIR CONDITIONING units,as necessary,to mantain su
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34 (5th, Cir. 2008),

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PLEASE NOTE: The Texas Sunset Advisory Commission con

5 members cf the TEXAS SENATE,and one public member ap
Lieutenant Governor and 5 members of the TEXAS HOUSE
and one public member appointed by the Texas Speaker
7 members of the Commission constituted a Quorum.
All final recommendations may not be made unless appr
record vote of a majority of the Commission's full mem
In addition, the Commission of Jail Standards,which c
9 members appointed by the Governor with advice and c
the Texas State Senate, two being County Sheriffs,one
one Practitioner of Medicine,one County Commissioner,

of the general public.

They concluded,that all City,County,and State jails m

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.County. Judge,

and 4 members

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conditioned. (There is a temperature ceiling of €65=85 DEGREES).:!

Even T.D.C-J. has a standing policy that requries Off
a spinal cord injury at T-6 or above will be housed i

controlled (66-86 degrees)environment and must be tra

enders with
na temperature

nsported in

an air conditioned vehicle during elevated environmental temperatures.

SEE CORRECTION MANAGED HEALTH CARE POLICY MANUAL # G-—
Planitiffs contend, that it DEFIES MEDICAL LOGIC for

Officials to set a benchmark temperature ceiling for

heat sensitive Offender and BLATANTLY: DISREGARD all o
After all, there is NO DISPUTE that several Offenders
heat related injurys and death who were not diagnosed
or above spinal cord injury in T.D.C.Jd..

PLEASE NOTE:THIS BENCHMARK TEMPERATURE CEILING (66-86
“INFORCED DISPITE THE EFFECTIVENESS OF ANY OTHER HEAT

PROVIDED BY T.D.C.J-SELULEPPbrrabigys

(17.

51-3 PAGE 2.
T.D.C.J.

one type of
ther Offenders.
have suffered

with a T-6

degrees )IS: BEING

REMEDIAL MEASURE

 
Case 4:19-cv-02881 Document 1 Filed on 08/01/19 in TXSD Page

In the COLE -vs.COLLIER litigation, The Court heard tes
several EXPERTS about the effects of heat on the huma

Due to the well-studied area of health science and me

is little disagreement among the experts about the efifects of heat

on the human body.

Exposure to heat places pressure on the human body.

» 18 of 55

timony from
h body.

dicine, there

In responce,the body uses two primary mechanisms to cool itself.

 

Evaporative cooling also known as perspiration/sweating and
|

’ cutaneous vasodilation(dilation of blood vessels close to the skin.

These processes and intricately interconnected and are managed

by the section of the brain called the hypothalamus.

These methods tb cool the body are referred to as thermoregulation.

The Experts concluded, that Offenders with the following serious

diagnosed medical conditions are at a HIGER RISK for

heat related

injury and death, as these conditions impede thermoregulatory

functioning: DIABETES, CARDIOVASCULAR DISEASE, PULMONARY DISEASE,

SWEAT GLAND DYSFUNCTION, CIRRHOSIS OF THE LIVER,CYSTIC FIBROSIS,

THYROID DYSFUNCTION, OBESITY, PSYCHIATRIC, HYPERTENSION,

CONGESTIVE

HEART FAILURE, SJOGREN'S SYDROME, SEVER ASTHMA,and OFFENDERS OVER

65 YEARS OLD.

In addition to these underlying conditions that can exacerbate the

effect of heat on the body,certain medications can also impede

the body's ability to thermoregulate.

These medications are as follows:

ANTICONVULSANTS, ANTICHOLINERGICS AND ANTIHISTIMINES, ANTIPSYCHOTICS,

ANTIDEPRESSANTS, ANTIMANICS, BETA BLOCKERS AND CALCIUM
BLOCKERS AND DIURETICS.

18.

 

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For T.D.C.J. Officials to automatically implement a policy to

set a MAXIMUM HEAT INDEX CEILING in order to protect only one type
of heat sensitive Offender and turning a blind eye to etl others,

is clearly an act of "DELIBERATE INDIFFERENCE", because they knew

|
or should have known,that Offenders with diagnosed heat sensitive

 

medical conditions other than a T-6 spinal cord injury) .can suffer-::
heat related injury,ie: HEAT STRESS,HEAT CRAMPS,HEAT EXHAUSTION,

HEAT STROKES and DEATH while in their housing areas.

SEE WEBB vs. LIVINGSTON, 618,F App'x 201,204, (Sth.Cir-2015),

JONES vs. LIVINGSTON, 4:-cv-02335, McCOLLUM v8. LIVINGSTON, 3:12-c—v-2037.
T.D.C.-J. ADMINISTRATIVE 10.64,T.D.C.J. INCIDENT MANAGEMENT PLAN,
T.-D.C.-Je RISK MANAGEMENT PROGRAM MANUAL,T.D.C.J- CORRECTIONAL

MANAGED HEALTH CARE MANUAL D-27.2,T.D.-C.J ANNUAL HEAT MESSAGE,

NATIONAL WEATHER SERVICE GUIDELINES, HEALTH SUMMARY FOR) CLASSIFICATIONS

HSM-18,YEARS OF EXPERIENCE WORKING IN T.D.C.J.,AND PLAIN COMMON

SENSE.

In addition,not only do their policies reflect the known danger of
the heat on. Offenders who have not been diagnosed with a spinal
cord injury,T.D.C.J. Officials are well aware of their, own Officers
suffering from heat related illnesses.
There: should be no dispute,that the inference could be/ drawn,that a
substantial risk of serious harm exist for Offenders who have

not been diagnosed with a spinal cord injury of T-6 or! above

and these T.D.C.J Officials know it.
And, they have done nothing to reduce the extreme temperatures in

the housing areas at the Jester-3 unit.

19.

 
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Clearly, Plaintiffs have shown both =: scientific and statistical,
facts,to prove the seriousness of the pontential harm and likelihood,
that such conditions of:extreme'heat will actually cause injury-

And, this Court can easily determine, what Texas Society considers,

as being contemopary standards of “decency and need to look no
further than,the recommerfidations for a MAXIUM HEAT INDEX CEILING

set by the TEXAS SUNSET COMMISSION,that: set=a:céiling for all T.D.C.J
prison units at 84 degrees,TEXAS STATE STATE LAW, that |jset a heat
ceiling for all City,County and State jails at 85 degrees,a TEXAS
FEDERAL COURT in COLE vs. COLLIER at 88 degrees,and T.D-C.J.

POLICY, which set a temperature heat ceiling for some heat sensitive

Offenders at 86 degrees.

Plaintiffs contend,that they and HUNDREDS of other Offenders
currently housed on the Jester-3 unit,have been diagnosed with

one or more of the heat sensitive medical conditions and have been
prescribed heat sensitive medications listed within this cause

ef action.Plaintiffs contend,that they and many other Offenders
have suffered heat related injury,and may have been a |contributing
factor for the recent death of Offender WILLIE HARDEMAN T.D.C.J.
NUMBER 1891985. (HIS DEATH PROMPTED THIS LAWSUIT)
On information and belief,several days prior to his death and

on the day of his death,he had complained about the extreme heat

he was being exposed to and having a difficult time breathing.

Offender Hardeman passed away on 7-13-2019 of an apparent heart attack.

 

20.
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CAUSATION

PRELIMINARY INJUNCTION REQUEST

RAYMOND L-CAVITT #1897462:

Is a 65 year old,wheelchair restricted Offender and cur

housed in one of the 14 dorms that are not air conditi
the Jester-3 unit.
Offender Cavitt, is a “POSTER-BOY" for the need of eme
injunctive relief.from the extreme heat conditions tha
in his living area’:(Dorm). _
Offender Cavitt has been diagnosed with the following he
serious chronic medical conditions: CHRONIC OBSTRUCTIV
DISEASE (COPD), CORONARY ARTERY DISEASE (CAD), OBSTRUCTI
APNEA (OSA), ASTHMA, DIABETES TYPE~1, HYPERTENSION, EMPHYS
has suffered a STROKE, TWO HEART ATTACKS and has (6) ST
Mr.-Cavitt is also dependent on the use of a CPAP MACHI
(3); INHALERS (Proventil HFA,SPIRIVA,Flovent).
In addition to these (3) inhalers,Mr.Cavitt has been p
the following medications and some of them are lisied

Health Care Manual as drugs associated with heat stres

Pagé 21 of 55

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E PULMONARY
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in T.D.C.J-'s

Ss: METOPROLOL,

 

ISOSORBIDE, NITROGLYCERIN, AMLODIPINE, ATORVASTATIN, CLOPI

DULOXETINE, HYDRALAZINE, LEVOTHYROXINE, LISINOPRIL, LORATA

DOGREL,

DINE,

DOCUSATE SODIUM, FERROUS SULFATE, FUROSEMIDE,NOVOLIN, OMEPRAZOLE

As a result of these medical conditions and medication

s, Mr.Cavitt

has been instructed by Medical Personnel, to avoid DIRECT SUNLIGHT,

TEMPERATURE EXTREMES, and HIGH HUMIDITY EXTREMES-

21.

 
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Mr.Cavitt,on numerious occasions complained to Jester-
Personnel about the heat related problems he has exper
his living areaychow hall and pill window.

When its hot,Mr.Cavitt several times a day,has experie
BREATHING, SEVERE HEADACHES: NAUAEA, DIZZINESS, and PROFU

Per Mr -Gavwitty "Being incthe heat j}ust drains me.I feel

3 Medical

ienced in

nced DIFFICULTY
SE SWEATING.

weak alil:of

the time,I can't eat or sleep;I get confused.can't read or write".

However, Mr.Cavitt does conceed,that the times that he
to spend in respite helps alot.

He stated that he wished that he could sleep in respit
tried to sicep in respite while sitting in his wheeich
told that it was not allowed) because his most difficu
are when he is trying to sleep.

PLEASE NOTE:Even late at night the temperature on Mr.C
living area exceeds 90 degrees.

When he puts on his CPAP mask,the machine blows out no

is allawed

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(Mr.Cavitt
air and was

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avitt' as:

thing but

het air and the mask around his face makes him sweat even more.

While sleep;he sweats so much that the mask slips off
face.
Many nights he just sits up in his chair because he ca

h

if he is laying in his bed.

In addition, the mental anguish of knowing that he has
each day te. deal and suffer with the extreme heat condi
now exist on the Jester-3 unit has taken its toll.
Mr.Cavitt contends,that the Jester-3 unit Warden Cynth
is well aware that this unit's Classification Departme

history of classifying disabled Offenders to facilitie

ill-equipped to handle their needs.
22.

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to wake up

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Is a 52 year old Offender currently housed on 7 dorm which is
one of the 14 dorms that do not have air conditioning.
Mr.Black has been diagnosed with the following life-threatening
HEAT SENSITIVE medicai conditions: ATHEROSCLEROTIC HEART DISEASE
(CAD),CHRONIC OBSTRUCTIVE PULMONARY DISEASE (COPD),HYPERTENSION,
EMPHYSEMA, HISTORY OF TAI and CEREBRAL INFRACTION, HYPOTHYROIDISM,

Mr.Black has a PACEMAKER and DEFIBULATOR, he has suffered 3 HEART

AS RESENT AS 7-19-2019,MR-BLACK PASSED OUT IN THE CHOWHALL DUE
TO BEING OVERHEATED and DBHYDRATED.
Mr.Black has been prescribed the following medications] and some

of them are known by T.D.C.J. Officials::as being heat |sensitive.

 

In addition to the daily use of THREE INHALERS (Proventil,Spiriva,
Flovent) , ISOSORBIDE, CLOPIDOGREL, DIPHENHYDRAMINE, FLUCONAZOLE,
FLUOXETINE, RANOLAZINE, ATORVASTATIN, CARVEDILOL, LEVOTHYROXINE,
LISINOPRIL, LORATADINE, have been prescribed to him.
As a result of the heat sensitive medical conditions and medications
Mr.Black has been instructed by ‘his Medical ‘Provider tlo avoid :
TEMPERATURE EXTREMES.
Mr.Black has begged land pleaded with his Medical Providers to.
Please put him in and air conditioned dorm,he was told,decisions are
‘made’in Huntsville based ona HEAT SENSITIVITY SCORE.
Mr.Black suffers the classic symptoms of heat related /injury.
Most importantly he stated, "The heat is causing me to be sick

to my stomach and I get dizzy to where I have to get cool or

I will pass-out?

23.

 
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"T have to place cold rags on my neck and face,when pla

heat,I see spots,I have a difficult time sleeping,I ne

wet rags on my face and stomach and neck just to sleep?

Mr.Black has suffered a heat related injury on 7-19-20
the other Plaintiffs have shown a substantial threat,t
also suffer irreparable injury if forced to be housed
extreme heat conditions every summer.

All Plaintiffs contend,that they have complained to T.
Officials and their Medical Providers in regards to be
to extreme heat conditions in their living areas and t

have done nothing to reduce the temperatures on these

Plaintiffs contend,that this complaint is not some sel
portents of doom nor is it speculative or conjectural.
There are many other Offenders assigned to the Jester-
have medical conditions and take the same medications
Plaintiffs -do.

They all suffer some aspects of heat stress and some a
officials ab

unwilling or afraid to comfront T.D.C.J.

extreme heat conditions that they are being exposed to.

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HARRY F.KERLEY #895775;

Is a 55 year old Offender currently housed on 2-Dorm
one of 14 dorms that do not hawe air conditioning.
Offender Kerley has been diagnosed with following hea
serious chronic medical conditions: OBESITY (BMI37),AS
ARTERY DISEASE (CAD), CONGESTIVE HEART FAILURE, HYPERTE
CHRONIC KIDNEY DISEASE.in addition to TRIPLE BY-PASS
In: addition to being prescribed an inhaler (PROVENTIL
has been prescribed the following medications and som
as being heat sensitive according to T.D.C.J.:HYDROCH
METOPROLOL, AMLODIPINE, ATORVASTAIN, NOVOLIN, HYDRALAZINE

METFORMIN,

As a result of these medical conditions and medicatior

Medical’ Providers instructed him to avoid EXTREME TEM

and HUMIDITY EXTREMES.

Mr.Kerley suffers from all of the classic symtoms of

injury. He stated "I become dizzy,head aches,lack of
and constant sweating?

"I also have shortness of breath as well as dry moutn
being dehydrated from being over heated!

"I have a hard time sleeping in the heat"?7E just sit
He also stated that it is too difficult to go to resp
Because Officers are not trained on the importants of
Offenders access to respite and they always give you a
Mr.Kerley stated "I hope that I don't die like Willie
Clearly Mr.Kerley is being housed in OVERWHELMING INA

living conditions.

25.

e 25 of 55

which is

t sensitive
THMA, CORONARY
NSION, DIABETES,
SURGERY.

),Mr.Kerley

“

are listed
LOROTHIAZIDE,

¢ LISINOPRIL,

ns,Mr.Kerley’s

PERATURES,

heat related

energy, nauseous,
because of

up and sweat".
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hard time.
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DEQUATE

 
Case 4:19-cv-02881 Document 1 Filed on 08/01/19 in TXSD Pag

USTIN D.BUXTON T.D.C.J. #2027038:

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ffender Buxton is 12 Dorm which i

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currentiy housed on

air conditioned.

Mr.Buxton has been daignosed with the following heat s

medical conditions: DIEBETES TYPE

EN

ARGE

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HEART (a

al

Mr.Buxton aiso has an

hypertension) 3mm. MODULAR LEFT LUNG

,

BY-PASS PATIENT (date of éperation 2-26-2019), he aiso

a WALKER.
Mr.Buxton has been prescribed the following heat sensi
medications:

Mr.Buxton suffers all of the classic examples of heat

illness: EXTREME DIFFICULTY BREATHING, LIGHT HEADINESS, D

EXTREME LACK of ENERGY,LOSS of APPETITE,
Per Mr.Buxton,"I can't sleep right at night,I often wa
gasping for air,this scares me so badly it's hours bef
go back to sleep".

"As a result,I am always tired and feel drugged out”.
Mrc.Buxton's Medical Providers have aiso instructed him
DIRECT SUNLIGHT and NO TEMPERATURE
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NO* PHYSPCIANS

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fact.the temperature outsidé can be 98 degrees,

temperature couid be up to iiO degrees.

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METOPROLOL, HYDROCHLORTHIAZIDE, TEGRETOL, LI

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KENNETH TAYLOR #828757;

Is a 52 year old Offender under the Psychiatric care oa

Mental Health Providers.
Mr.Taylor has been diagnosed with ASTHMA, HYPERTENSION,

and a history of TIA,and CEREBRAL INFARCTIONS (Repeat

he also has STENTS due to CALOTID ATRERY DISEASE and S

Mr.Taylor has also been precribed the following medica
some can.

LEVOTHYROXINE,.MECLIZINE, METOPROLOL, OMEPRAZOLE, TERAZOSI

make it difficult for his body to THERMOREGU

£ U.T-.M.

 

HYPOTHYROIDISM,
PEROKE VICTIM).
EIZURES.

tios which

LATE

N, AMLODIPINE,

CARBAMAZEPINE, CLOPIDOGREL, DULOXETINE, LEVETLRACETAM, ATORVASTATIN.

As a result of the medical conditions and medications,
Providers ordered him to avoid DIRECT SUNLIGHT.NO TEMP
EXTREMES,NO HUMIDITY EXTREMES.
Mr.Taylor,
symptoms: DIZZINESS, VERTIGO,LOSS OF BODY CONTROL, HARD
can"t SLEEP.

the

Mr.Taylor fears,that?when be becomes over heated,

to his brain is reduced and at times he feeis that he
have a stroke, and some day it might
"This is why at this time I ask this
me immediate relief! .
4
"Because of the life endangering effect of the heat o
Mr-Taylor brings this suit due to Prison Officials wh

conditions and practices that they knew or should hav

his Medical

ERATURE

stated that he suffers from all of the classic heat

TIME BREATHING,

blood flow

is about to

cause a reali stroke".

Court and honorable Judge give

n my iliness”.
O perpetuated

e known, were

DELETERIOUS to. the: physical and mental well-beiny. of: Mr. Taylor.

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CONCLUSION

The failure of T.D.C.J. Officials to take proper cogni

of the serious diagnosed medical conditions of the Pla
and to anticipate and guard against known unsafe priso

clearly shows a conscious indifference or reckless dis

the health and safety of the Plaintiffs.-
T.D.C.J. Officials are well aware of the pervasive,lon

and well documented extreme heat conditions that the P

being subjected to on the Jester-3 unit.

Plaintiffs agree, that Courts usually arrive at a deci

tne effects of conditions..on the. General pyvison. popula

than a specific type of individual.

zZance
inti fis,
m conditions,

regard for

gstanding,

laintiffs are

sion as to

tion rather

However, conditions that are constitutionally sufficient for one

type of class of Offender,are not necessarily constitutionaily

sufficient for another.
An Offender with specialized or compiexes needs, may bk

cruel and unsusual punishment by being forced to live

that are adequate for the general population Offender, -

e subject to

under conditions

For exampie,it has been nheid, that contemporary standards of decency

contemplate, that special concerns should be given to

of physicaily and mentally handicapped Offenders. so’ théy

not required to rigidly fit into a mold for Offenders

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physicai mobdiiity and or inteiligence.SEE RUIZ vs. ES‘

F.SUPP. 1265,1345-1346 (1980).(A T.D.C.J. CASE)

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the needs
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In this cause of action,PlaintiffS wish to settle a qu
of law once and for all.
In order to remedy an 8th.-Amendment violation in regar
to extreme heat conditions in living areas on the Jest
CAN THIS COURT DETERMINE WHAT TEMPERATURE TRIGGERS 8th
PROTECTION?
We are asking this Court to set a MAXIMUM HEAT INDEX o
in all living areas where heat sensitive Offenders are

the Jestre-3 unit.

Because,there are no current remedial measures in plac
the temperatures in these living areas.
Plaintiffs pray.fora PRELIMINARY INJUNCTION because,th
substantial likeihood, that they will prevail on the me
there is a substantial threat,that Plaintiffs will be
been harmed,and may suffer irreparable injury;and the
injury to Plaintiffs outweighs the threatened harm tha
injunction may cause the Defendants;and granting this

injunction will not disserve the public interest.

fx eee
Ad CAVITT IM BLACK

SUBM]TTED
fe LZ, Ze
JUSTIN BUXTON

ETH TAYLOR

SUBMITTED BY

MR.KEITH M.COLE #728748
{JAILHOUSE LAWYER)
JESTER III UNIT
3-JESTER ROAD
RICHMOND, TEXAS 77406-8544

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United States Courts

Southern District of Texas

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
David

RAYMOND L.CAVITT
et.al.Plaintiffs,

VS.

LORIE DAVIS
“eteal. Defendants.

FILED

AUS 01 2019

J, Bradley, Clerk of Court

PLAINTIFF'S MOTION FOR APPOINTMENT OF COUNSEL

PETITION FOR CERTIFICATION OF A SUB-CLASS INCORP

TO THE HONORABLE JUDGE OF SAID COURT:

ORATED

Now comes Raymond L.Cavitt e#.al.(PLAIJNTIFFS) to file this

document PRO SE in the above styled civil action.
Plaintiff's pray,that this HONORABLE Court will GRANT
MOTION TO APPOINT COUNSEL and CLASS ACTION STATUS.

Plaintiffs will show the following:

this

 
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Unlike criminal cases,where every person has a Constitional right

to be defended by a Lawyer,Plaintiffs conceed,that they do not

have a wholesale Constitional right to be represented by a Lawyer

in this cause of action.

"HOWEVER", the U.S.Constitution gives Courts the "AUTHORITY" to

appoint Counsel in certain circumstances.SEE U.S.C. § 1915 (e),(1).-

[nJothing in [the] clear launguage [of § 1915 (e),(1)]

suggest

that appointment of Counsel is permissible only in SOME LIMITED

set of circumstances.

Nor has it been found in the Legislative history of this provision

to support such a limitation.SEE PARHAM VS. JOHNSON,12
457-58 (1977),and TABRON, 6 F3d.,157.

However,there are delineating factors,that Courts cons
appointing Counsel:

1-Does Plaintiff's case have MERIT?

© Fed., 454,

ider in

2-Can Plaintiffs EFFECTIVELY PRESENT and MANAGE this case while

being imprisoned?

3.Will FACTUAL INVESTIGATION be necessary and do Plain
the ability to pursue such investigations?

4.Will this cause of action require the testimony of E
WITNESSES and:do the Plaintiffs have the ability and r
to acquire them?

5.Will a trial in this case turn on the CREDIBILITY of
to the point,that there is a need for a TRAINED LITIGA

propare for and conduct CROSS-EXAMINATIONS?

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6.-MOST IMPORTANTLY,CAN A PRO SE OFFENDER EFFECTIVELY, FAIRLY. +:
ADEQUATELY or LEGALLY represent a Sub-Class of Offenders ina
civil action?
Plaintiffs contend, that they have demonstrated the existence

of “QUESTIONS of LAW and FACTS"common to a Sub-Class of Offenders

on the Jester-3 unit,and have satified the requirements of (23) (a),

(2).

 

1.That excessive heat constitutes a condition of confinement,that
poses a substantial risk of serious harm to the near of all.
Offenders housed on the Jester-3 unit, who have been diagnosed with a
heat’ sensitive medical condition or prescribed a heat sensitive
medication.

2. That T.D.C.J. Officials have been deliberate indifference to the
risk posed to these heat sensitive Offenders.
In addition,The 5th.Circuit concluded that the District Court
did not abuse its discretion in certifying Class Action status
to a sub-class of Offenders in COLE VS.COLLIER.
Plaintiffs also contend,that not only will appointment /|of Counsel
enable this Court to ‘protect others. to lappoint at Counsel may
serve the Court as well,and also serve the best interest of the
opposing parties.
CASE IN POINT:When Lawyers are called on to deal with/|other
Lawyers, these fellow Attornys are accustomed to the PROCEDURES,
LANGUAGE, and CONCEPTS of the law.
This would obviously move the legal process in a more | TIMELY and

ORDERLY fashion.

 
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Plaintiffs do conceed,that their. JAILHOUSE LAWYER does
good basic knowledge knowledge of procedual law.
However, that limited knowledge does not establish,that
are able to present and defend their case in a Court’o
This Court is well aware,that trials are hard to do.
They require a soild understanding of substabtive law,
and the rules of evidence;the ability to recall and ap
knowledge on. SPLIT SECOND'S NOTICE;excellent communicat!
the confidence to address and persuade a Judge and abo
PREPARATION.
Plaintiffs have no idea how to repersent a class of Of
prepair for a trial.
Even though Plaintiffs may have done an adequate job o
this case on paper,this is all meaningless unless they
to present this case at trial.
THIS IS NOT A LAWSUIT ABOUT MONEY NOR IS It ABOUT COMF
HUMAN BEINGS ARE SUFFERING AND DYING DUE TO THE EXTREM
CONDITIONS IN TEXAS PRISONS. PLEASE SEE ATTACHED EXHIB
When powerless people confront a mammoth legal system
Attorney General of the Great State of Texas without t
tools to protect their interest, THEY USUALLY FAIL TO O
In conclusion,Plaintiffs respectfully request,that thi
become a QUASIADVOCATE and view Plaintiff's complaint
inside of prison looking out, and in the interest of j

fairplay,GRANT appointment of Counsel and Class action

B 33 of 55

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Plaintiffs

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EXHIBITS -A
STATEMENTS OF SUB-CLASS MEMBERS

 
Case 4:19-cv-02881 Document 1 Filed on 08/01/19 in TXSD rs 350f55  »

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DECLARATION

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pedoonal Cnentledae at, do declan!

 

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MR.KEITH M.COLE #728748
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RICHMOND, TEXAS 77406-8544
7-30-2019

CLERK

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
P.O.BOX 61010

HOUSTON, TEXAS 77208

Dear Clerk,

 

Enclosed you will find the original copy of a 1983 PETITION,
MOTION TO APPOINT COUNSEL,MOTION FOR CLASS ACTION STATUS submitted

by me on behalf of Raymond Cavitt,Harry Kerley,Kenneth Taylor,

Jimmy Black,and Justin Buxton.

Please file mark the copy of this letter and return it in the

enclosed self addressed envelope.

Also due to the fact,that I have no way to copy these

documents,

could you please file mark and copy the enclosed documents and

provide me with a copy?

Vite. v7.

ie fe Bless You T
MR. KEITH M.CGOLE

(Jailhouse Lawyer)

oday!!

 
 

KEITH MILD COLE “00713743
CTarL House LAWYER?
BESUFORD H JESTER VW) UNIT

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BRACHMOND, TEXAS 7740b-3s44

 

 

CLERK

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